Case 3:15-cv-01743-MAS-TJB Document 78-1 Filed 02/22/18 Page 1 of 1 PageID: 889



Shamsiddin Abdur-Raheem
787151C/789072                                          RECE~.VED
New Jersey State Prison
PO Box 861
Trenton, NJ 08625                                              FEB 2 2 2018
                            Feb~uary    16, 2018           AT 8:30               M
                                                              WILLIAM T. WALSH
                                                                   l.IERK
VIA REGULAR MAIL
Hon. Tonianne Jo Bongiovanni, U.S.M.J.
United States Districi Court
40.2 East State Street, Room 2020·
Trenton, NJ 08508.

Re:   S~amsiddin Abdur-Raheem v. New Jersey Department of
      Corrections, et al.,          .
      Civ. Action Noo 3:15-cv-01743-MAS-TJB
Your Honor·Judge Bongiovanni:

     Enclosed please find        from  Plaintiff pro se in the above
matter a Notice of M·otion        To Reopen Thie. Time To Appeal wi'th
supporcLng   Certification        and   attached·   exhibits,  and   a
Certification of Filing and      Service. Thank you for yo~r time.


                                          Respectfully submitted,




                                          Shamsiddin Abdur-Raheem
C: Counsel for Defend-ants (w/encls.)-VIA ECF;
   File
